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                             No. 22-13708


            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
                       ___________________

               GREATER BIRMINGHAM MINISTRIES,
                                        Plaintiff-Appellee
                                   v.

       SECRETARY OF STATE FOR THE STATE OF ALABAMA,
                                     Defendant-Appellant
                         ___________________

     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF ALABAMA
                    ___________________

     BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
 SUPPORTING PLAINTIFF-APPELLEE AND URGING AFFIRMANCE
            ON THE ISSUES ADDRESSED HEREIN
                   ___________________

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   Greater Birmingham Ministries v. Secretary of State for the State of Ala.,
                              No. 22-13708
              CERTIFICATE OF INTERESTED PERSONS
            AND CORPORATE DISCLOSURE STATEMENT

      In accordance with Eleventh Circuit Rules 26.1-1, 26.1-2, and 26.1-3, the

United States as amicus curiae certifies that, in addition to those identified in

the briefs filed by plaintiff-appellee and defendant-appellant, the following

persons may have an interest in the outcome of this case:

      1. Bokat-Lindell, Noah B., U.S. Department of Justice, Civil Rights

         Division, counsel for the United States;

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      3. Clarke, Kristen, U.S. Department of Justice, Civil Rights Division,

         counsel for the United States.

      The United States certifies that no publicly traded company or corporation

has an interest in the outcome of this appeal.

                                                 s/ Noah B. Bokat-Lindell
                                                 NOAH B. BOKAT-LINDELL
                                                  Attorney


Date: March 20, 2023




                                      C-1 of 1
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                IN THE UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT
                           ___________________

                                    No. 22-13708

                    GREATER BIRMINGHAM MINISTRIES,
                                               Plaintiff-Appellee
                                          v.
          SECRETARY OF STATE FOR THE STATE OF ALABAMA,
                                           Defendant-Appellant
                               ___________________

       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF ALABAMA
                      ___________________

       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
   SUPPORTING PLAINTIFF-APPELLEE AND URGING AFFIRMANCE
              ON THE ISSUES ADDRESSED HEREIN
                     ___________________

                     INTEREST OF THE UNITED STATES

      This case raises important interpretive issues regarding Section 8(i) of the

National Voter Registration Act (NVRA), 52 U.S.C. 20507(i). The Attorney

General is charged with enforcing the NVRA. 52 U.S.C. 20510(a). Accordingly,

the United States has an interest in ensuring that Section 8(i) is correctly construed.

The United States files this brief under Federal Rule of Appellate Procedure 29(a).

                         STATEMENT OF THE ISSUES

      The United States addresses the following questions:
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      1. Whether Section 8(i) requires disclosure of records concerning people

denied registration, or removed from a State’s voter rolls, because of disqualifying

felony convictions.

      2. Whether Section 8(i) requires States to release electronic copies of

records when the records are maintained electronically and failure to release such

information in electronic form would unduly interfere with Section 8(i)’s

disclosure right.1

                          STATEMENT OF THE CASE

1.    Statutory Background

      In 1993, “against the backdrop of waning election participation,” Congress

“adopted the National Voter Registration Act.” Bellitto v. Snipes, 935 F.3d 1192,

1198 (11th Cir. 2019). Congress determined that the right to vote “is a

fundamental right,” the exercise of which government has a duty to promote, and

that “unfair registration laws and procedures” can reduce participation in federal

elections and “disproportionately harm voter participation by various groups,

including racial minorities.” 52 U.S.C. 20501(a).

      Section 8 of the NVRA, titled “[r]equirements with respect to administration

of voter registration,” establishes uniform procedures to increase voter registration

in federal elections while maintaining accurate voter rolls. 52 U.S.C. 20507. This

      1
          The United States takes no position on any issue not addressed herein.
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case concerns Section 8(i), titled “[p]ublic disclosure of voter registration

activities.” 52 U.S.C. 20507(i). Section 8(i) creates a right to access records

related to States’ registration and voter-roll maintenance efforts. The relevant

portion provides:

      Each State shall maintain for at least 2 years and shall make available
      for public inspection and, where available, photocopying at a
      reasonable cost, all records concerning the implementation of
      programs and activities conducted for the purpose of ensuring the
      accuracy and currency of official lists of eligible voters, except to the
      extent that such records relate to a declination to register to vote or to
      the identity of a voter registration agency through which any
      particular voter is registered.

52 U.S.C. 20507(i)(1).

2.    Procedural History

      a. As required by the Help America Vote Act of 2002 (HAVA), 52 U.S.C.

21083(a)(1)(A), Alabama’s Secretary of State (the Secretary) maintains the State’s

voter-registration and voter-roll information in an electronic database called

PowerProfile. Doc. 90, at 6. 2 The Secretary at times creates and sells electronic

reports containing subsets of the information in the database, transferring them to

buyers by email or other electronic means. Doc. 90, at 6-7. Rather than using the

same electronic means to provide records requested under Section 8(i) of the



      2
         “Doc. __” refers to the docket entry of documents filed in the district
court, No. 2:22-cv-205 (N.D. Ala.). “Br. __” refers to the Secretary’s opening
brief on appeal.
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NVRA, the Secretary created a public inspection policy in response to this suit that

requires NVRA requestors to view records on a computer in his office. Doc. 90, at

7. Viewers may access the computer no more than four hours a day; they may take

limited notes, but may not engage in “word-for-word copying” or use flash drives

to copy the information. Doc. 90, at 7-8 (citation omitted).

      In 2021, plaintiff Greater Birmingham Ministries (GBM) sought several sets

of records from the Secretary under Section 8(i). Doc. 90, at 4. It requested lists

of (1) those removed from Alabama’s voter rolls due to disqualifying felony

convictions, (2) those denied registration due to disqualifying felony convictions,

and (3) all those removed from the voter rolls, for any reason, after the 2020

general election. Doc. 90, at 4-5. (Following the parties, the United States refers

to the first two requests jointly as the Felony Records Request and to the third as

the Purged Voters Request.) The Secretary refused to provide records responsive

to the Felony Records Request and sought to charge a one-cent-per-person fee for

transmitting records responsive to the Purged Voters Request. Doc. 90, at 5.

      b. After providing the statutorily-required notice, GBM sued the Secretary,

alleging violations of Section 8(i) as to both requests. Doc. 90, at 2, 6. The case

eventually proceeded to a bench trial. Doc. 90, at 3. After trial, the district court

ruled for GBM. Doc. 90, at 2; see Doc. 113 (final judgment). It first held that

records responsive to the Felony Records Request fell within Section 8(i). Doc.
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90, at 9-17. It then held that the Secretary must send its records to GBM in digital

form. Doc. 90, at 21. Since GBM was willing to pay a reasonable fee for the

electronic records, the court let the Secretary impose a fee to cover the actual costs

of producing them. Doc. 90, at 23-26.

      c. The Secretary turned over the requested records (Doc. 95, at 6-8), then

timely appealed (Docs. 100, 114).

                          SUMMARY OF ARGUMENT

      The district court correctly held that the Felony Records Request sought

records covered by Section 8(i). Statutory text, context, purpose, and case law all

establish that Section 8(i) covers both activities related to voter registration and

activities regarding people with disqualifying felony convictions. The Secretary

argues the opposite, pointing to certain provisions of Section 8 and statements from

the Federal Election Commission (FEC) and Department of Justice (DOJ). But

none of these sources supports his atextual and restrictive readings of Section 8(i).

      Additionally, in circumstances like those here, Section 8(i) requires States to

release responsive electronic information to requestors, rather than forcing them to

examine thousands of records in person during limited hours without the ability to

copy them. Here, too, text, context, purpose, and precedent all support the district

court’s consistent interpretation. When information is stored digitally, and failure
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to release it electronically would unduly interfere with disclosure rights, Section

8(i)’s public-inspection and photocopying provisions require electronic release.

                                    ARGUMENT

                                            I

  SECTION 8(I) REQUIRES RELEASE OF RECORDS RESPONSIVE TO
                THE FELONY RECORDS REQUEST

A.    Section 8(i) Covers Lists Of Those Prohibited From Registering Or
      Removed From The Rolls Due To Felony Convictions

      1. The district court correctly held that Section 8(i) applies both to lists of

those denied registration generally, and to lists of those denied registration or

removed from the voting rolls due to felony convictions specifically. The NVRA’s

language, structure, and purpose support this reading.

      a. “As in all cases involving statutory construction, our starting point must

be the language employed by Congress.” Arcia v. Florida Sec’y of State, 772 F.3d

1335, 1343 (11th Cir. 2014). Section 8(i) requires disclosure of “all records

concerning the implementation of programs and activities conducted for the

purpose of ensuring the accuracy and currency of official lists of eligible voters.”

52 U.S.C. 20507(i)(1). Lists of those denied registration or removed from the rolls

due to felony convictions fall squarely within this language.

      First, Alabama’s efforts to deny registration to and remove from the voter

rolls those with disqualifying felony convictions plainly constitute “programs” or
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“activities.” 52 U.S.C. 20507(i)(1). A “program” is “a plan of procedure” or

“schedule or system under which action may be taken toward a desired goal,”

while an “activity” is a “natural or normal function or operation.” Webster’s Third

New International Dictionary 22, 1812 (1993). Alabama’s efforts meet either

definition.

      Alabama law requires registrars to “purge” the State’s voter list “on a

continuous basis” of any registered voters who have “been convicted of” a

disqualifying felony. Ala. Code § 17-4-3(a) (2022). It also authorizes registrars to

“refuse[] registration” to any applicant “who fails to establish * * * that he or

she is qualified to register,” id. § 17-3-54, including if the applicant has been

“disqualified to vote by reason of conviction of a felony involving moral

turpitude,” id. § 17-3-30.1(c); see id. § 17-3-30 (excluding those disqualified to

vote from entitlement to register); see also 52 U.S.C. 20507(g) (requiring federal

prosecutors to notify state election officials of federal felony convictions). Each of

these processes “is a ‘program’ because it is” a plan of procedure “carried out in

the service of a specified end—maintenance of voter rolls.” Project Vote/Voting

for Am., Inc. v. Long, 682 F.3d 331, 335 (4th Cir. 2012) (Project Vote); see also

Arcia, 772 F.3d at 1339 (discussing “two separate programs to identify and

remove non-citizens from the Florida voter rolls” (emphasis added)). And each “is

an ‘activity’ because it is a particular task and deed of [Alabama] election
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employees,” a normal operation for which they are responsible. Project Vote, 682

F.3d at 335.

      Second, these registration-denial and list-maintenance programs are

“conducted for the purpose of ensuring the accuracy and currency of official lists

of eligible voters.” 52 U.S.C. 20507(i)(1). Alabama’s removal requirement

eliminates those who erroneously were registered despite existing convictions,

thereby ensuring the list’s “accuracy,” or who once were but no longer are eligible

voters, thereby ensuring its “currency.” Ibid. Likewise, “the process of reviewing

voter registration applications keeps official voter lists both ‘accurate’—free from

error—and ‘current’—most recent.” Project Vote, 682 F.3d at 335.

      Third, lists of voters denied or removed by Alabama’s felony programs are

“records concerning the implementation of” those programs. 52 U.S.C.

20507(i)(1). They are records of the end result of each program, and therefore

“concern”—or relate to—how those programs are “implement[ed].” Ibid.

Moreover, the NVRA applies its disclosure requirement to “all” such “records,”

ibid. (emphasis added), a word that gives the provision a “‘broad,’ ‘powerful,’ and

‘expansive’ meaning.” Laperriere v. Vesta Ins. Grp., Inc., 526 F.3d 715, 726 (11th

Cir. 2008) (citations omitted). Lists of those denied a place on or removed from

the voter rolls fall within the “broad range of disclosable documents” covered by
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Section 8(i). Public Int. Legal Found., Inc. v. North Carolina State Bd. of

Elections, 996 F.3d 257, 266 (4th Cir. 2021).

      Finally, such lists are not among the only two categories of records excluded

from Section 8(i)’s reach: those that “relate to a declination to register to vote or to

the identity of a voter registration agency through which any particular voter is

registered.” 52 U.S.C. 20507(i)(1). As “Congress explicitly enumerate[d] certain

exceptions” to Section 8(i), the Secretary cannot invent an “additional,” “implied”

exception for records of registration denials or for records related only to persons

convicted of disqualifying felonies. Arcia, 772 F.3d at 1345 (citation omitted)

(examining NVRA Section 8(c)(2)). Moreover, that Congress needed explicitly to

exclude two categories of records relating to voter registration confirms that

Section 8(i) otherwise reaches such records.

      The only appeals court to address similar issues has read Section 8(i)’s text

the same way. In Project Vote, the Fourth Circuit held that “the plain language of

Section 8(i)(1) does not allow us to treat its disclosure requirement as limited to

voter removal records” and that “completed voter registration applications are

clearly” covered. 682 F.3d at 335. Following the same “statutory analysis,” the

Fourth Circuit also has held that a State’s “efforts * * * to identify noncitizen

registrants” and remove them from the rolls “qualify as a ‘program’ or ‘activity’ to

ensure an accurate list of eligible voters” and that records related to those efforts
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therefore “fall within the scope of the NVRA’s disclosure provision.” Public Int.

Legal Found., 996 F.3d at 266 (quoting 52 U.S.C. 20507(i)(1)).3 In both cases, the

Fourth Circuit recognized that “the statute’s use of the term ‘all records’ relating to

[a State’s] ‘implementation of’ the program or activity * * * encompasses a

broad range of disclosable documents.” Ibid.; see Project Vote, 682 F.3d at 336.

      b. Statutory context further shows that Section 8(i) covers information

responsive to the Felony Records Request. See Bellitto v. Snipes, 935 F.3d 1192,

1200 (11th Cir. 2019) (interpreting NVRA Section 8(a)(4) with reference to

“statutory structure”). Start with the relevant statutory titles, which “are

‘permissible indicators of meaning.’” United States v. Bryant, 996 F.3d 1243,

1258 (11th Cir.) (citation omitted), cert. denied, 142 S. Ct. 583 (2021). Section

8(i) is titled “Public disclosure of voter registration activities,” 52 U.S.C. 20507(i)

(emphasis added), and falls within a section titled “[r]equirements with respect to

administration of voter registration,” 52 U.S.C. 20507 (emphasis added). “These

statutory labels reinforce the conclusion that Section 8(i)(1) governs voter

registration records.” Project Vote, 682 F.3d at 337. When Congress sought to

reference only efforts to remove voters from the rolls, it titled those provisions

accordingly. Compare, e.g., 52 U.S.C. 20507(c) (“Voter removal programs”); 52


      3
         While Public Interest Legal Foundation dealt with removals for non-
citizenship, nothing in Section 8(i) distinguishes between removal programs based
on the reason for removal. See pp. 12, 16-17, infra.
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U.S.C. 20507(d) (“Removal of names from voting rolls”), with 52 U.S.C. 20507(b)

(“Confirmation of voter registration”).

      Congress likewise specified throughout Section 8’s text when provisions are

limited only to list-maintenance activities. For instance, Section 8(c) sets time

limits for completing “any program the purpose of which is to systematically

remove the names of ineligible voters from the official lists of eligible voters.” 52

U.S.C. 20507(c)(2)(A). This language refers only to programs designed to cull

already-registered voters from the rolls. See Arcia, 772 F.3d at 1348. By contrast,

Section 8(a) lists requirements for States “[i]n the administration of voter

registration for elections for Federal office,” including both measures to “ensure

that any eligible applicant is registered to vote in an election” and “a general

program” to remove ineligible registered voters from the rolls. 52 U.S.C.

20507(a)(1) and (4) (emphases added). And in Section 8(b), Congress set

standards for “[a]ny State program or activity to protect the integrity of the

electoral process by ensuring the maintenance of an accurate and current voter

registration roll for elections for Federal office.” 52 U.S.C. 20507(b)(1). This

language, like Section 8(i)’s, applies to all programs or activities designed to

“ensur[e] the accuracy and currency of official lists of eligible voters,” 52 U.S.C.

20507(i)(1), which includes denying registration to those ineligible to vote. See
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Laperriere, 526 F.3d at 726 (describing the word “any” and stating it “means ‘all’”

(citations omitted)).

      Congress also specified when a particular NVRA provision applies only to

removals of those deemed ineligible for particular reasons. Section 8(a)(4), for

example, requires States to implement “a ‘general program that makes a reasonable

effort to remove the names of ineligible voters from the official lists of eligible

voters by reason of’ only two things: death or change of address.” Bellitto, 935

F.3d at 1200 (quoting 52 U.S.C. 20507(a)(4)). It is presumed that “when Congress

uses different language in similar sections, it intends different meanings.” Ibid.

(citation omitted). If Congress wanted to limit Section 8(i)’s disclosure mandate to

list-maintenance programs, or to excise programs related to felony convictions

from Section 8(i)’s reach, Congress knew how to do so.

      c. Since Section 8(i)’s “language is plain and unambiguous,” it is

unnecessary “to examine statutory purpose.” Bellitto, 935 F.3d at 1201. But

disclosure of records responsive to the Felony Records Request plainly would

advance all of the NVRA’s purposes: increasing eligible voter registration,

enhancing voter participation, protecting electoral integrity, and maintaining

current and accurate voter registration rolls. See 52 U.S.C. 20501(b). Whether

“voter registration rolls” are “accurate and current,” 52 U.S.C. 20501(b)(4), can

only be determined by examining records related to all the bases on which a State
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denies registration or removes registrants. Public inspection of records related to

denials or removals, whatever the reason for them, ensures that States are properly

evaluating applications, rejecting applicants only for legitimate reasons, processing

eligible applications in a timely fashion, notifying applicants of the disposition of

their applications, and engaging in uniform and nondiscriminatory registration and

list-maintenance practices. See, e.g., 52 U.S.C. 20504(e); 52 U.S.C. 20506(d); 52

U.S.C. 20507(a)(1)-(2) and (b)(1). Inspection of such records also may help

uncover systemic problems in a jurisdiction, so voters (or organizations like GBM)

can remedy registration and list-maintenance issues before future elections. Public

disclosure of those denied registration or removed from the rolls for felony

convictions thus advances the NVRA’s central purposes: increasing registration

and participation, maintaining voter-roll accuracy, and ensuring the electoral

process’s integrity. 52 U.S.C. 20501(b).

B.    The Secretary’s Attempts To Limit 8(i)’s Scope Fail
      1. As discussed above, Section 8(i) does not distinguish between voter

registration records and list-maintenance records. Nevertheless, the Secretary

relies (Br. 39-41, 46-49) on statements from the FEC and DOJ that he claims

support carving out registration records from Section 8(i)’s reach. They do no

such thing.
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       The Secretary first points to a 1994 FEC guidance document. See Br. 39-41,

47-49; Doc. 79-1. He notes that the guidance describes Section 8’s scope with

phrases like “list maintenance” and “list cleaning” and discusses “improper

removals.” Br. 39, 41. But the FEC’s choice of shorthand sheds no light on

Section 8(i)’s precise meaning. See also Doc. 79-1, at 10 (stressing in the guidance

document that the FEC “does not have legal authority either to interpret the Act or

to determine whether this or that procedure meets [its] requirements,” and

cautioning that “[a]ny suggestions contained in this document are purely

heuristic”). 4

       The Secretary also points to an NVRA Question and Answer page on DOJ’s

website. See Br. 39-40, 46; Doc. 79-4. In response to the question, “Under the

NVRA, what are the circumstances under which a State can remove a person’s

name from the voter registration rolls?,” the web page describes the circumstances

under which Section 8 either allows or requires States to remove certain registrants

from the voter rolls. Doc. 79-4, at 7-8. The Q&A page explains that the NVRA

“requires States to conduct a general voter registration list maintenance program



       4
         The NVRA initially granted the FEC authority to promulgate rules
implementing certain aspects of the statute—though not Section 8(i). See Pub. L.
No. 103-31, § 9(a), 107 Stat. 87 (as amended 52 U.S.C. 20508(a)). HAVA
transferred the FEC’s functions and powers under the NVRA to the Election
Assistance Commission. See Pub. L. No. 107-252, § 802, 116 Stat. 1726 (52
U.S.C. 20508(a)).
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that makes a reasonable effort to remove ineligible persons from the voter rolls by

reason of” their death or change of residence, that this “program” must be carried

out in accordance with the NVRA’s procedures, and that it “must be uniform,

nondiscriminatory and in compliance with the Voting Rights Act.” Doc. 79-4, at 8.

The nondiscrimination requirement, found in Section 8(b)(1), applies to “[a]ny

State program or activity to protect the integrity of the electoral process.” 52

U.S.C. 20507(b).

      DOJ’s answer says nothing whatsoever about a State’s obligations under the

NVRA’s disclosure provision. The Secretary posits that DOJ must have

interpreted Section 8(b)(1)’s reference to “program[s] or activit[ies]” as being

limited solely to “list maintenance” rather than voter registration activities, and

argues that Section 8(i) must be read the same way. Br. 40. But the Q&A page

makes no such logical leap, which would contradict the plain meaning of both

Section 8(b)(1) and Section 8(i). See pp. 11-12, supra. Moreover, the statement to

which the Secretary points says nothing either way about voter registration. It

answers a question solely about, and so focuses solely on, voter removals. Doc.

79-4, at 7-8. When speaking directly to Section 8(i), the Q&A page confirms that

voter registration records are subject to that provision. See Doc. 79-4, at 10 (“Are

States required to keep records of their voter registration activities under the

NVRA? Yes.”).
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      2. The Secretary also claims that Section 8(i) does not cover records of

those with felony convictions at all, even in relation to voter removals. But see pp.

6-9, 12, supra. He emphasizes (Br. 41, 45 & n.17) that actions to remove voters

for disqualifying felonies are exempted from a different NVRA provision, which

forbids using systemic list-maintenance programs within 90 days of a federal

election. See 52 U.S.C. 20507(c)(2). But while this language illustrates “that not

all ineligibility is treated the same” under that provision (Br. 45), it says nothing

about the text of Section 8(i). Section 8(i) applies to “all records concerning the

implementation of” covered programs, with only two exceptions not applicable

here. 52 U.S.C. 20507(i)(1) (emphasis added). And Congress expressly

contemplated State programs to remove voters for criminal convictions: It allowed

the practice, 52 U.S.C. 20507(a)(3)(B), and facilitated removals for federal

convictions, 52 U.S.C. 20507(g), but has since required States to “coordinate the

computerized [voter] list with State agency records on felony status” before

removing voters, 52 U.S.C. 21083(a)(2)(A)(ii)(I).

      The Secretary likewise claims (Br. 44-46) that, because Section 8(a)(4) of

the NVRA requires States to conduct programs to remove those who changed

addresses or died, see 52 U.S.C. 20507(a)(4), Section 8(i) applies only to those

required programs. But Section 8(i)’s text cannot be read to tether disclosure to

those programs alone. “If Congress wanted such a limited result, it could have said
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so.” Arcia, 772 F.3d at 1348. While Section 8(a)(4) is expressly restricted to death

and change of address, Section 8(i) applies to all records about implementation of

programs “conducted for the purpose of ensuring the accuracy and currency of

official lists of eligible voters.” 52 U.S.C. 20507(i)(1). Section 8(i) also reaches

both “programs and activities,” 52 U.S.C. 20507(i)(1) (emphasis added), further

indicating a broad sweep. It is not limited to Section 8(a)(4) programs.

      The Secretary also relies (Br. 44-45) on the disclosure provision’s second

paragraph, Section 8(i)(2). This paragraph specifies that States must maintain

certain records about confirmation-of-address mailings sent as part of Section

8(a)(4) programs, but does not mention removals for felony convictions. 52 U.S.C.

20507(i)(2). Section 8(i)(2), however, is not limited to its examples. It states that

“[t]he records maintained pursuant to paragraph (1) shall include” the enumerated

records. Ibid. (emphasis added). And “the word include does not ordinarily

introduce an exhaustive list.” United States v. Hastie, 854 F.3d 1298, 1304 (11th

Cir. 2017) (citation omitted). Limiting Section 8(i) “to only the enumerated

examples” in Section 8(i)(2) also “would render the express exclusions [in Section

8(i)(1)] superfluous.” Ibid. Thus, Section 8(i)(2) merely clarifies certain

categories of information that must be maintained; it does not exclude other

records. See Project Vote, 682 F.3d at 337.
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      3. Finally, the Secretary asserts (Br. 47-49) that, even if Section 8(i) applies

to removals for felony convictions, it does not reach lists of those removed. For

this argument, the Secretary relies principally on a passage in the 1994 FEC

guidance. This passage quotes Section 8(i)(2)’s language about what the records

subject to disclosure must include. Doc. 79-1, at 88-89, 140. The passage then

says that States might also wish to retain “for the same period of time all records of

removals from the voter registration list,” but “[a]s a matter of prudence, not as a

requirement of the Act.” Doc. 79-1, at 89, 140.

      This statement cannot sustain the Secretary’s interpretation. To start, the

FEC’s guidance is just that: guidance. The FEC’s rulemaking authority never

extended to the NVRA’s public disclosure provision, see Pub. L. No. 103-31,

§ 9(a), 107 Stat. 87 (as amended 52 U.S.C. 20508(a)), so it never could issue

binding pronouncements on the subject, see United States v. Mead Corp., 533 U.S.

218, 231-232 (2001). In any event, the statement’s placement after discussion of

Section 8(i)(2) suggests that the FEC may have believed that only those records

specified in Section 8(i)(2) must be retained and disclosed—a reading that would

run afoul of the statutory text. See p. 17, supra. If so, the FEC’s mistaken

interpretation of Section 8(i) could not overcome the statute’s clear language. See

Villarreal v. R.J. Reynolds Tobacco Co., 839 F.3d 958, 970 (11th Cir. 2016) (en

banc), cert. denied, 137 S. Ct. 2292 (2017). As the Secretary notes, however, the
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guidance “does not explain” its statement. Br. 47. It therefore can provide no

basis for interpreting Section 8(i)—and certainly not for misinterpreting it.

                                          II

 SECTION 8(I) REQUIRES ELECTRONIC RELEASE OF ELECTRONIC
  RECORDS WHEN NEEDED TO FACILIATE MEANINGFUL PUBLIC
                        DISCLOSURE

      The district court also reasonably held that the NVRA required the Secretary

to transmit information to GBM digitally. See Doc. 90, at 17-18. Section 8(i)

requires States to “make [all covered records] available for public inspection and,

where available, photocopying at a reasonable cost.” 52 U.S.C. 20507(i)(1).

“[I]nterpretation of this [language] ‘depends upon reading the whole statutory text,

considering the purpose and context of the statute, and consulting any precedents

or authorities that inform the analysis.’” Kasten v. Saint-Gobain Performance

Plastics Corp., 563 U.S. 1, 7 (2011) (citation omitted). Considered together, text,

context, purpose, and case law support requiring States to release information

electronically to requestors where the information already is stored digitally and

failure to release the information electronically would impede meaningful

disclosure. The Secretary cannot circumvent Section 8(i)’s requirements by

erroneously claiming that meeting GBM’s requests involves creating new records.
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A.    All Traditional Tools Of Statutory Interpretation Support Requiring
      Electronic Release Of Records When Needed To Preserve Meaningful
      Disclosure

      1. The Secretary’s restrictive disclosure regime impedes the rights Section

8(i) affords. Section 8(i) mandates that States allow “public inspection” of records.

“Inspection” means “looking narrowly into; careful scrutiny or survey; close or

critical examination.” Oxford English Dictionary (2d ed. 1989),

https://www.oed.com/oed2/00118155; accord Webster’s Third New International

Dictionary 1170 (1993) (defining “inspection” as “a strict or close examination”).

Section 8(i) thus requires States to provide records in a manner that enables the

public to subject those records to close examination. And the NVRA provides

district courts with flexibility to tailor the remedy to the circumstances of the

infringement, allowing plaintiffs to receive “declaratory or injunctive relief with

respect to the violation * * * in addition to all other rights and remedies

provided by law.” 52 U.S.C. 20510(b)(2) and (d)(1) (emphasis added). Here,

“where the records are already kept in digital form”—and where the number of

records involved and the timing and notetaking strictures imposed by the

Secretary’s physical inspection policy would make in-person examination

prohibitively burdensome, thereby “unduly interfer[ing] with the NVRA’s express

purposes”—Section 8(i) mandates some other meaningful opportunity to inspect.
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Doc. 90, at 21. Absent a lawful State-sponsored alternative, the district court

reasonably required electronic transmission of the information sought.

      Section 8(i)’s photocopying mandate also requires electronic release of

electronic documents in like circumstances. To “photocopy” is simply “[t]o make

a photographic reproduction of (printed or graphic material).” The American

Heritage Dictionary of the English Language 1363 (3d ed. 1992); accord

Webster’s Third 1702 (defining “photocopy” as “a negative or positive

photographic reproduction of graphic matter (as a drawing or printing)”). Courts

often have read statutory discussions of copying as including electronic production

of material. For instance, “[i]n the era of electronic discovery, courts have held

that electronic production of documents can constitute ‘exemplification’ or

‘making copies’ under” the federal costs statute. In re Ricoh Co., Ltd. Pat. Litig.,

661 F.3d 1361, 1365 (Fed. Cir. 2011); see also Race Tires Am., Inc. v. Hoosier

Racing Tire Corp., 674 F.3d 158, 171 n.11 (3d Cir.) (stating that “the costs of

conversion to an agreed-upon production format are taxable as the functional

equivalent of ‘making copies’”), cert. denied, 568 U.S. 825 (2012); Country

Vintner of N.C., LLC v. E. & J. Gallo Winery, Inc., 718 F.3d 249, 260 (4th Cir.

2013) (allowing taxation under costs statute for “converting electronic files to non-

editable formats, and burning the files onto discs”). And “a photocopy or other

electronic means of reproduction of an original drawing could” constitute a “bona
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fide cop[y]” under the copyright statute. Kodadek v. MTV Networks, Inc., 152

F.3d 1209, 1212 (9th Cir. 1998) (citation omitted; emphasis added).

      So too here. Electronic release, “where available,” fits within Section 8(i).

52 U.S.C. 20507(i)(1). Indeed, as records are increasingly kept electronically, not

requiring electronic release would functionally read the copying provision out of

Section 8(i). At the very least, a State’s refusal to allow NVRA requestors to copy

records themselves, when the means of such copying are readily available via flash

drive, phone camera, or email, violates the photocopying provision. See Public

Int. Legal Found., Inc. v. Matthews, 589 F. Supp. 3d 932, 943 (C.D. Ill. 2022).

      2. The disclosure provision’s “caption * * * also bolsters [this] textual

analysis.” Bowling v. United States Bank Nat’l Ass’n, 963 F.3d 1030, 1038 (11th

Cir. 2020). Section 8(i) is entitled “[p]ublic disclosure of voter registration

activities.” 52 U.S.C. 20507(i). The word “‘[d]isclosure’ requires an affirmative

act” to hand over records, and “[b]y specifying that a ‘disclosure’ must be ‘public,’

Congress indicated that only disclosures made to the public at large or to the public

domain” meet the statute’s requirements. United States ex rel. Wilson v. Graham

Cnty. Soil & Water Conservation Dist., 777 F.3d 691, 696 (4th Cir. 2015) (False

Claims Act case); see United States ex rel. Feingold v. AdminaStar Fed., Inc., 324

F.3d 492, 495 (7th Cir. 2003) (defining “public disclosure” similarly in FCA case);

see also United States ex rel. Williams v. NEC Corp., 931 F.2d 1493, 1500 n.11
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(11th Cir. 1991) (rejecting idea in FCA case that documents in hands of one person

were “disclosed to the ‘public’”). In an age of email and internet-based

communication, public disclosure means electronic release of electronic

information—not closeting a computer in an office and forcing requestors to travel

hundreds of miles to view voluminous records for brief intervals with no

opportunity to copy the information. 5

      3. Likewise, reading Section 8(i) to require electronic release of electronic

documents best harmonizes the provision with HAVA. HAVA mandated that each

State create “a single, uniform, official, centralized, interactive computerized

statewide voter registration list,” which must “serve as the single system for storing

and managing the official list of registered voters throughout the State.” 52 U.S.C.

21083(a)(1)(A)(i); see also 52 U.S.C. 21083(a)(2)(A)(ii)(I) (requiring that States

that remove voters from the list due to disqualifying felonies “coordinate the

computerized list with State agency records on felony status”).



      5
         The Secretary argues that, because other statutes specify locations or times
at which public inspection must occur, the phrase “public inspection” always
means that “the inspector goes to the records.” Br. 28. The district court came to
the opposite conclusion. Doc. 90, at 22-23. The United States takes no position on
the meaning of any other public inspection statute. However, the Secretary cannot
rely on different language from other statutes (Br. 27, 29-30) to argue that Section
8(i) must refer only to physical inspection, while also arguing that Section 8(i)
cannot be interpreted to require electronic release of records because the provision
lacks language similar to that found in the Freedom of Information Act (FOIA) and
other statutes (see note 6, infra).
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      Congress provided that none of HAVA’s requirements, including its

digitization of registration records, “may be construed to * * * supersede,

restrict, or limit the application” of the NVRA. 52 U.S.C. 21145(a) and (a)(4).

Yet if the Secretary’s interpretation of Section 8(i) were correct, HAVA would

have fundamentally altered the way in which NVRA records are kept while silently

restricting the public’s ability to benefit from the change. By contrast, reading

Section 8(i) to impose a general public disclosure requirement (as its plain text

suggests) would fully maintain Section 8(i)’s consistency with HAVA, allowing

for continued physical inspection of physical records and electronic release of

records that HAVA required to be digitized. 6

      4. Section 8(i)’s pro-disclosure purpose resolves any debate: The statute’s

text is best understood as requiring electronic release of electronic information



      6
         That Congress amended FOIA to require electronic disclosure, but did not
similarly amend Section 8(i) when enacting HAVA, does not mean that Section
8(i) must refer only to physical inspection of records. Contra Br. 29-30.
Congress’s changes to FOIA go much further than Section 8(i)’s disclosure
requirement. Congress amended FOIA’s affirmative public-inspection provision to
require that all covered records be placed in “electronic format,” and that all such
records created “on or after November 1, 1996” be made available “by computer
telecommunication” or “other electronic means.” 5 U.S.C. 552(a)(2). Likewise,
Congress amended FOIA to require agencies to provide all other records “in any
form or format requested by the person” if “readily reproducible.” 5 U.S.C.
552(a)(3). By contrast, Section 8(i) does not require States to digitize their
physical records and provide them in electronic form. But where records are
already digital, Section 8(i) is best read to require States to release the information
to requestors when that is necessary to enable meaningful examination.
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where, as here, physical inspection regimes would overly burden the statute’s

disclosure right. “[S]tatutory language must be read in the context of the purpose it

was intended to serve.” United States v. Ballinger, 395 F.3d 1218, 1237 (11th

Cir.) (en banc), cert. denied, 546 U.S. 829 (2005). And “[t]he entire purpose of

[Section 8(i)] is to facilitate public inspection of public records.” Voting for Am.,

Inc. v. Andrade, 488 F. App’x 890, 902 (5th Cir. 2012). Like FOIA, Section 8(i)

“evidences a strong public policy in favor of public access to information,” and

“the policy of the Act requires that the disclosure requirements be construed

broadly.” News-Press v. United States Dep’t of Homeland Sec., 489 F.3d 1173,

1191 (11th Cir. 2007) (citations and quotation marks omitted). Reading Section

8(i) to require providing electronic records to requestors in cases like this one best

fulfills the provision’s purpose. By contrast, under the Secretary’s reading of

Section 8(i), States may implement unduly restrictive inspection regimes, contrary

to the NVRA’s plain intent to make records easily available to the public. “As

between two competing interpretations, we must favor the ‘textually permissible

interpretation that furthers rather than obstructs’ the statute’s purposes.” Belevich

v. Thomas, 17 F.4th 1048, 1053 (11th Cir. 2021) (citation omitted), cert. denied,

142 S. Ct. 2754 (2022).

      The regime the Secretary instituted in response to this suit does not provide a

meaningful opportunity to examine the information to which GBM was entitled.
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Rather than simply releasing the requested information to GBM electronically, the

Secretary’s policy would require GBM attorneys to travel to the Secretary’s office,

then sift through a spreadsheet of more than 159,000 responsive voter records. See

Doc. 90, at 7; Doc. 95-1, at 3, 6 (describing number of records). Only one person

at a time would be able to conduct this research, as the Secretary made available

just a single computer terminal. Doc. 90, at 7. And that person would only be

allowed to review the records for four hours a day, on days when the Secretary’s

office is open. Doc. 90, at 7.

      Nor could GBM simply copy the records, which would both enable

meaningful examination and use of the information and obviate the need for

multiple trips. The Secretary forbade the use of flash drives, photos, or even

“word-for-word copying” by hand. Doc. 90, at 7-8. And this is not the most

extreme possible outcome: If the Secretary’s interpretation of Section 8(i) were

correct, he could have made the electronic voter list available for review for ten

minutes once a month, in an office in the remotest corner of the State (or

elsewhere), and fulfilled his duty under the statute. Such a myopic reading of

Section 8(i)’s disclosure mandate language would “sever[] that [text] from its

purpose, in contravention of the basic principle that the words of a statute are

written to fill a purpose, not to fill a page.” Ballinger, 395 F.3d at 1237.
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      Citing Bellitto v. Snipes, 935 F.3d 1192 (11th Cir. 2019), the Secretary

questions any reliance on the NVRA’s purposes. Br. 31. Certainly, the NVRA’s

“competing objectives”—encouraging access to the franchise and ensuring voter-

roll accuracy—can find themselves “in some tension with each other” in some

NVRA provisions. Bellitto, 935 F.3d at 1201. But Section 8(i)’s disclosure

requirement serves all of the statute’s principal goals, as well as its own more

specific goal of enabling the public to monitor States’ registration and list-

maintenance activities. See pp. 12-13, supra. “It is self-evident that disclosure

will assist the identification of both error and fraud in the preparation and

maintenance of voter rolls,” while also ensuring that voters’ right to register and

“exercise their franchise” is not “sacrificed to administrative chicanery, oversights,

or inefficiencies.” Project Vote/Voting for Am., Inc. v. Long, 682 F.3d 331, 335,

339 (4th Cir. 2012).

      5. For these reasons, “[c]ourts addressing similar claims regularly presume

that meaningful public disclosure entails electronic production of the documents at

issue.” Campaign Legal Ctr. v. Scott, No. 1:22-cv-92, 2022 WL 3221301, at *6

(W.D. Tex. Aug. 2, 2022) (citing cases), rev’d and remanded on other grounds, 49

F.4th 931 (5th Cir. 2022); see also Matthews, 589 F. Supp. 3d at 943 (C.D. Ill.

2022) (holding that state law’s “limitation on photocopying or duplication” of the

statewide electronic voter registration list “is preempted by the NVRA”). By
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contrast, the Secretary points to no decision that has adopted his crabbed

interpretation of Section 8(i).

B.    Providing Lists Of Applicants Or Registrants Affected By Covered Programs
      Or Activities Does Not Constitute Creating New Records

      Taking a different tack, the Secretary also asserts (Br. 49-51) that requiring

him to locate records responsive to GBM’s requests and provide lists of affected

voters would constitute record creation rather than maintenance. This argument

gets him no further. “[U]sing a query to search for and extract a particular

arrangement or subset of data already maintained in an agency’s database does not

amount to the creation of a new record.” Center for Investigative Reporting v.

United States Dep’t of Just., 14 F.4th 916, 938 (9th Cir. 2021) (FOIA case). While

responding to GBM’s requests requires the Secretary to pull existing data from the

PowerProfile database, such requirements do not equate to the creation of new

records under federal disclosure principles. See, e.g., id. at 938-939 (quoting

cases); May v. Department of Air Force, 800 F.2d 1402, 1403 (5th Cir. 1986)

(holding that “requiring [an agency] to prepare a special form does not require it to

‘create new records’” under Privacy Act when the requester “has not requested the

[agency] to produce information contained outside existing agency records”).

      Any “technical burdens in making the records available” do “not change that

the Requested Records are preserved accounts of information or evidence of past

events” that must be maintained and disclosed under Section 8(i). Project Vote,
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Inc. v. Kemp, 208 F. Supp. 3d 1320, 1336 (N.D. Ga. 2016). Were it otherwise,

Section 8(i) “would allow States to circumvent their NVRA disclosure obligations

simply by choosing to store information in a particular manner” or by making

information intentionally difficult for requestors to retrieve. Ibid. This concern is

heightened since HAVA required States to maintain their voter registration records

in a single electronic database but left to States’ discretion “[t]he specific choices

on the methods of complying with” that requirement. 52 U.S.C. 21085. If “the

results of a search query run across a database necessarily constituted the creation

of a new record, we may well render [Section 8(i)] a nullity in the digital age.”

Center for Investigative Reporting, 14 F.4th at 939; accord Kemp, 208 F. Supp. 3d

at 1336.
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                              CONCLUSION

    This Court should affirm on the issues addressed herein.

                                             Respectfully submitted,

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      I certify that the attached BRIEF FOR THE UNITED STATES AS

AMICUS CURIAE SUPPORTING PLAINTIFF-APPELLEE AND URGING

AFFIRMANCE ON THE ISSUES ADDRESSED HEREIN:

      (1) complies with the type-volume limitation of Federal Rules of Appellate

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                                            s/ Noah B. Bokat-Lindell
                                            NOAH B. BOKAT-LINDELL
                                             Attorney

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      I hereby certify that on March 20, 2023, I electronically filed the foregoing

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                                               s/ Noah B. Bokat-Lindell
                                               NOAH B. BOKAT-LINDELL
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